                                            Case 3:21-cv-07171-SI Document 43 Filed 10/06/23 Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     CENTER FOR BIOLOGICAL                               Case No. 21-cv-07171-SI
                                         DIVERSITY, et al.,
                                   8
                                                           Plaintiffs,                       QUESTIONS FOR OCTOBER 12, 2023
                                   9                                                         HEARING ON CROSS-MOTIONS FOR
                                                    v.                                       SUMMARY JUDGMENT
                                  10
                                         NADA WOLFF CULVER, et al.,
                                  11
                                                           Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The parties’ cross-motions for summary judgment are scheduled for a hearing on October

                                  14   12, 2023 at 1:00 p.m. by zoom. The Court directs the parties to be prepared to address the following

                                  15   questions:

                                  16

                                  17      1. Appendices D and G to the FEIS describe the process by which the BLM designated OHV

                                  18          routes on remand. Appendix G states,

                                  19          The BLM developed potential network-wide minimization and mitigation measures
                                              which varied based on alternative-specific objectives. The network-wide measures
                                  20          addressed area and route specific impacts, and were the first response to the 43 C.F.R.
                                              § 8342.1 criteria to minimize impacts in the designation of routes, whether or not
                                  21          additional route-specific measures would be applied. AR 101488.
                                  22          Appendix D states,

                                  23          The above criteria [43 C.F.R. § 8342.1] served as the basis for identifying resources
                                              to be considered and establishing thresholds to trigger measures to minimize impacts
                                  24          for each linear feature identified in the current inventory under each alternative.
                                              These thresholds are referred to throughout this Draft SEIS as “minimization
                                  25          triggers.” AR 183581.
                                  26          Questions:

                                  27                a. How did the minimization and mitigation measures vary based on alternative-

                                  28                     specific objectives? How could these measures vary depending on alternatives if the
                                        Case 3:21-cv-07171-SI Document 43 Filed 10/06/23 Page 2 of 3




                                   1             BLM has the obligation to apply the regulatory minimization criteria in designating

                                   2             routes?

                                   3          b. What does “the network-wide measures addressed area and route specific impacts

                                   4             and were the first response to the 43 C.F.R. § 8342.1 criteria” mean?

                                   5          c. What is a “minimization trigger” and how were the triggers applied? Are the

                                   6             “measures to minimize impacts” optional mitigation measures that may occur

                                   7             sometime in the future after the OHV routes have been designated and the route

                                   8             network has already been implemented, or were these mitigation measures imposed

                                   9             during the designation process?

                                  10   2. What are the BLM’s resources for enforcement and mitigation? One document from 2013

                                  11      states that BLM has 7 rangers to patrol the approximately 3.2 million acres in the WEMO

                                  12      area. AR 14401.
Northern District of California
 United States District Court




                                  13   3. The FWS’s Biological Opinion states that between 2004 and 2014, there was an estimated

                                  14      loss of 66,668 desert tortoises (over half of the population) in the Western Mojave Recovery

                                  15      Unit, the area for the 2019 Route Network. FWS AR 5369. In reaching its “no jeopardy”

                                  16      conclusion, FWS stated that the proposed action would not result in the creation of new

                                  17      routes, and also cited the following measures:      (1) Permitting stopping, parking, and

                                  18      camping only in disturbed areas would ensure that use of the route network does not lead to

                                  19      additional habitat loss; (2) The designation of transportation linear disturbances and their

                                  20      rehabilitation would decrease effects of a route network, such as the spread of non-native

                                  21      plants; and (3) the adaptive management program for implementing the route network would

                                  22      enable the Bureau to adapt its methods for remediating issues as they arise. FWS AR 5407.

                                  23      Questions:

                                  24          a. In light of the estimated loss of desert tortoises from 2004-2014, how should the

                                  25             Court view the fact that while the 2019 Route Network does not add new routes, that

                                  26             route network contains one of the largest route networks that the BLM considered

                                  27             and increases the mileage of routes in “areas of critical environmental concern” from

                                  28             1,534.5 miles to 2,055.7 miles? FWS AR 5397.
                                                                                   2
                                           Case 3:21-cv-07171-SI Document 43 Filed 10/06/23 Page 3 of 3




                                   1             b. Have the limitations on stopping, parking and camping been implemented?

                                   2             c. What is a “transportation linear disturbance” and how does it differ from a “closed

                                   3                 route”? What is the consequence of labeling something a a “transportation linear

                                   4                 disturbance” versus a “closed route”? Has rehabilitation of TLDs begun?

                                   5             d. What is the “adaptive management program”?

                                   6      4. Plaintiffs argue that the 2019 Route Network does not comply with the regulatory

                                   7          minimization criteria and that it also violates FLPMA’s “unnecessary and undue”

                                   8          degradation standard. Assuming the “unnecessary and undue” degradation standard applies

                                   9          (which the parties dispute), how is the analysis different? If the Court found that BLM

                                  10          complied with the minimization criteria, would that also mean that there was no violation of

                                  11          the unnecessary and undue degradation standard?

                                  12      5. Plan Amendment 1 (“PA-1”) amends the CDCA Plan to replace language that capped OHV
Northern District of California
 United States District Court




                                  13          routes to their 1980 levels with language specifying that use will be “restricted to designated

                                  14          routes of travel.” When the FWS evaluated the impact of PA-1, the FWS focused on the 3.1

                                  15          million acres of the WEMO planning area, and not the entire CDCA. Plaintiffs contend that

                                  16          because PA-1 is a plan-level amendment, FWS was required to evaluate the impact of that

                                  17          amendment on the entire CDCA and defendants argue that it was appropriate to limit the

                                  18          review to the WEMO planning area because that is where the 2019 Route Network is. Does

                                  19          the plain language of PA-1 apply to the CDCA areas outside of the WEMO Planning Area?

                                  20          If so, when would the FWS evaluate the impact of lifting the 1980 route cap on the remainder

                                  21          of the CDCA?

                                  22

                                  23   Dated: October 6, 2023

                                  24                                                ______________________________________
                                                                                      SUSAN ILLSTON
                                  25                                                  United States District Judge
                                  26
                                  27

                                  28
                                                                                        3
